Case 3:16-cv-00643-JHM-CHL Document 16 Filed 02/09/17 Page 1 of 1 PageID #: 71




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF KENTUCKY
                              AT LOUISVILLE

BARBARA GILBERT               }
                              }
       Plaintiff,             }                     Case No. 3:16-cv-00643-JHM-CHL
                              }
v.                            }                     Judge Joseph H. McKinley
                              }
                              }                     Magistrate Judge Colin H. Lindsay
                              }
NATIONAL CREDIT SYSTEMS, INC. }
et al.                        }
                              }
       Defendants.            }
                              }



                                               ORDER


       On motion of the Plaintiff, Barbara Gilbert, and the Court being otherwise sufficiently

advised;

       IT IS HEREBY ORDERED that the claims asserted by Plaintiff in her complaint

against Defendants National Credit Systems, Inc. and Equifax, Inc. are hereby DISMISSED,

with prejudice.

       This is a final and appealable order.




                                                                            February 8, 2017




                                                    1
